USCA Case #25-5202    Document #2118796        Filed: 06/03/2025       Page 1 of 3



                                           U.S. Department of Justice
                                           Civil Division, Appellate Staff
                                           950 Pennsylvania Ave. NW
                                           Washington, DC 20530

                                                               Tel: (202) 305-8849

                                           June 3, 2025
  Via CM/ECF

  Clifton Cislak, Clerk of Court
  U.S. Court of Appeals for the District of Columbia Circuit
  E. Barrett Prettyman U.S. Courthouse
  333 Constitution Avenue NW
  Washington, D.C. 20001

        RE:   Learning Resources, Inc. v. Trump, No. 25-5202

  Dear Mr. Cislak:

  Earlier today, the district court entered the attached order staying its
  injunction in this case pending this appeal. That development renders
  moot the government’s motion in this Court for a stay pending appeal.

                                        Sincerely,

                                        /s/ Daniel Winik
                                        Daniel Winik


  cc:   All counsel (via CM/ECF)
     Case 1:25-cv-01248-RC Document 42                    Filed 06/03/25 Page 1 of 2
USCA Case #25-5202    Document #2118796                       Filed: 06/03/2025 Page 2 of 3



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

LEARNING RESOURCES, INC., et al.,                 :
                                                  :
        Plaintiffs,                               :      Civil Action No.:       25-1248 (RC)
                                                  :
        v.                                        :      Re Document No.:        41
                                                  :
DONALD J. TRUMP, et al.,                          :
                                                  :
        Defendants.                               :

                                             ORDER

                          GRANTING DEFENDANTS’ MOTION TO STAY

        Upon consideration of Defendants’ motion to stay (ECF No. 41) enforcement of the

Court’s order entered May 29, 2025 preliminarily enjoining the United States from collecting

tariffs from Plaintiffs pursuant to Executive Orders 14,195; 14,228; 14,257; 14,259; and 14,266

(ECF No. 35); it is hereby

        ORDERED that Defendants’ motion is GRANTED. In issuing the preliminary

injunction, the Court specifically referenced the related permanent injunction granted by the

Court of International Trade. See Mem. Op. Denying Defs.’ Mot. Transfer Venue; Granting Pls.’

Mot. for Prelim. Inj. at 32–33, ECF No. 37. The Court acknowledged the national security and

foreign policy concerns raised by Defendants but determined that those consequences would

flow, if at all, from the CIT’s more sweeping order. Id. That order has now been stayed by the

Court of Appeals for the Federal Circuit. A stay in this action is therefore appropriate to protect

the President’s ability to identify and respond to threats to the U.S. economy and national

security; and it is

        FURTHER ORDERED that the effects of this Court’s order granting Plaintiffs’ motion

for a preliminary injunction (ECF No. 35) and the accompanying memorandum opinion (ECF
     Case 1:25-cv-01248-RC Document 42                   Filed 06/03/25 Page 2 of 2
USCA Case #25-5202    Document #2118796                      Filed: 06/03/2025 Page 3 of 3



No. 37) are hereby stayed pending disposition of the pending appeal before the United States

Court of Appeals for the District of Columbia Circuit.

       SO ORDERED.


Dated: June 3, 2025                                             RUDOLPH CONTRERAS
                                                                United States District Judge




                                                2
